UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
                                                             1:22-CR-326 (MAD)
       vs.

JASON SCHOFIELD




                            ASSIGNMENT/INFORMATION FORM

COUNSEL:

Please find attached a copy of the Criminal Pretrial Order issued in the above-entitled action.

The above case has been assigned to the Judge on the attached case assignment form.

All correspondence and filings shall be filed electronically unless specifically exempted by
General Order #22 or a judicial officer. Documents should bear the initials of the assigned Judge
immediately following the Court Action Number.

All motion papers must conform to Local Rule 12.1 of the Northern District of New York Rules
of Criminal Procedure.
                                 CASE ASSIGNMENT FORM

                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK

CRIMINAL ACTION NUMBER:               1:22-CR-326 (MAD)

The action has been assigned to HON. MAE A. D'AGOSTINO, U.S. District Judge.

All correspondence and filings shall be filed electronically unless specifically exempted by
General Order #22 or a judicial officer. Documents should bear the initials of the assigned judge
immediately following the case number as follows: 1:22-CR-326 (MAD)

If permission has been granted to file papers traditionally, all original papers must be filed with
the Clerk's Office listed below:

               CLERK, U.S. DISTRICT COURT
               James T. Foley, U.S. Courthouse
               445 Broadway, Room 509
               Albany, NY 12207-2936
                            CRIMINAL PRETRIAL ORDER

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
                                                              1:22-CR-326 (MAD)

       vs.

JASON SCHOFIELD



I.     NOTICE TO ALL COUNSEL:

        Counsel for the defendant is directed to file a notice of appearance in accordance with L.R.
44.2 of the Local Rules of Criminal Procedure with the Clerk of the court stating his/her mailing
address and phone number.

II.    DISCOVERY:

       A)      It is the Court's policy to rely on the discovery procedure as set forth in this Order
       as the sole means of the exchange of discovery in criminal actions except in extraordinary
       circumstances. This Order is intended to promote the efficient exchange of discovery
       without altering the rights and obligations of the parties, while at the same time eliminating
       the practice of routinely filing perfunctory and duplicative discovery motions.

       B)     Fourteen (14) days after arraignment, or on a date otherwise set by the Court for
       good cause shown, the government shall make available for inspection and copying to the
       defendant the following:

               1)     Fed.R.Crim.P. 16(a) & Fed.R.Crim.P. 12(b)(4) Information. All
               discoverable information within the scope of Rule 16(a) of the Federal Rules of
               Criminal Procedure, together with a notice pursuant to Fed.R.Crim.P. 12(b)(4) of
               the government's intent to use this evidence, in order to afford the defendant an
               opportunity to file motions to suppress evidence.

               2)      Brady Material. All information and material known to the government
               which may be favorable to the defendant on the issues of guilt or punishment,
               within the scope of Brady v. Maryland, 373 U.S. 83 (1963).

               3)     Federal Rule of Evidence 404(b). The government shall advise the
               defendant of its intention to introduce evidence in its case in chief at trial, pursuant
               to Rule 404(b) of the Federal Rules of Evidence. This requirement shall replace the
               defendant's duty to demand such notice.

       C)    Unless a defendant, in writing, affirmatively refuses discoverable materials under
       Fed.R.Crim.P. 16(a)(1)(E), (F), and/or (G), the defendant shall make available to the
       government all discoverable information within the scope of Fed.R.Crim.P. 16(b)(1)(A),
       (B), and/or (C), within twenty-one (21) days of arraignment.

       D)     No less than fourteen (14) days prior to the start of jury selection, or on a date
       otherwise set by the Court for good cause shown, the government shall tender to the
       defendant the following:

              1)      Giglio Material. The existence and substance of any payments, promises of
              immunity, leniency, preferential treatment, or other inducements made to
              prospective witnesses, within the scope of United States v. Giglio, 408 U.S. 150
              (1972).

              2)     Testifying Informant's Convictions. A record of prior convictions of any
              alleged informant who will testify for the government at trial.

       E)      The government shall anticipate the need for, and arrange for the transcription of,
       the grand jury testimony of all witnesses who will testify in the government's case in chief,
       if subject to Fed.R.Crim.P. 26.2 and 18 U.S.C. §3500. The government, and where
       applicable, the defendant, are requested to make materials and statements subject to
       Fed.R.Crim.P. 26.2 and 18 U.S.C. §3500 available to the other party at a time earlier than
       required by rule or law, so as to avoid undue delay at trial or hearings.

       F)      It shall be the duty of counsel for all parties to immediately reveal to opposing
       counsel all newly discovered information, evidence, or other material within the scope of
       this Order, and there is a continuing duty upon each attorney to disclose expeditiously. The
       government shall advise all government agents and officers involved in the action to
       preserve all rough notes.

       G)      No attorney shall file a discovery motion without first conferring with opposing
       counsel, and no motion will be considered by the Court unless it is accompanied by a
       certification of such conference and a statement of the moving party's good faith efforts to
       resolve the subject matter of the motion by agreement with opposing counsel. No discovery
       motions shall be filed for information or material within the scope of this Rule unless it is
       a motion to compel, a motion for protective order, or a motion for an order modifying
       discovery. See Fed.R.Crim.P. 16(d). Discovery requests made pursuant to Fed.R.Crim.P.
       16 and this Order require no action on the part of this Court and should not be filed with
       the Court, unless the party making the request desires to preserve the discovery matter for
       appeal.

III.   MOTIONS:

       A)       Any and all motions by all parties must be served and filed within four (4) weeks
       of the date of this Order. Such motions must comply with the provisions of Rule 12.1 of
       the Local Rules of Criminal Procedure for the Northern District of New York. All motions
       must be filed by the motion filing expiration date and at least 30 days before the scheduled
       trial date. Motions are to be FILED BY October 11, 2022.

       B)       The Court shall not hear a motion to compel discovery unless the attorney for the
       moving party files with the Court, simultaneously with the filing of the moving papers, a
       notice stating that the moving party has conferred and discussed in detail with the opposing
       party the issues between them in a good faith effort to eliminate or reduce the area of
       controversy and to arrive at a mutually satisfactory resolution. If the parties agree that a
      suppression hearing is necessary and the papers conform to the requirements of L.R. Cr. P.
      12.1(a), the Court will set the matter for a hearing. If the government contests whether the
      Court should conduct a hearing, the defendant must accompany the motion with an
      affidavit, based upon personal knowledge, setting forth facts which, if proven true, would
      entitle the defendant to relief.

      C)     Motions may be filed by a party later than four (4) weeks from the date of this Order
      only by further order of this Court upon a showing of good cause for the delay.

      D)     Any delay, from the date of filing such motion through conclusion of its hearing,
      or other prompt disposition, is excluded from calculation under the time limits of the
      Speedy Trial provisions. 18 U.S.C. §3161(h)(1)(D).

      E)       Counsel for each party shall EXCHANGE and file with the Court A
      MEMORANDUM OF LAW, not to exceed twenty-five (25) pages in length, concerning
      issues of substantive and any evidentiary law which either party anticipates will be raised
      at the trial of the general issues.

IV.   HEARINGS:

      A)     Counsel for each party shall be ready with witnesses and exhibits for any
      evidentiary hearing which the Court may schedule.

V.    SPEEDY TRIAL REQUIREMENTS:

      A)      The U.S. Attorney and defense counsel are hereby notified that no continuance or
      extension will be granted under the Speedy Trial Act unless a motion or stipulation is
      submitted which recites the appropriate exclusionary provision of the Speedy Trial Act, 18
      U.S.C. §3161. In addition, the motion or stipulation must be accompanied by an affidavit
      of facts upon which the Court can make a finding which would warrant the granting of the
      relief requested. Counsel must also submit a proposed order setting forth the time to be
      excluded and the basis for its exclusion. If the exclusion affects the trial date of the action
      the stipulation or proposed order must have a space for the Court to enter a new trial date
      in accordance with the excludable time period. All requests for continuance or extension
      which do not comply with this Order will be disallowed by the Court.

VI.   TRIAL DATE:

      A)      Trial will be scheduled to begin not later than sixty (60) days from the date of
      arraignment. In multiple defendant cases the trial date will be scheduled at the arraignment
      of the first defendant to be arraigned; defendants arraigned on subsequent dates will be
      joined for trial with the original defendant unless a written application or stipulation by the
      U.S. Attorney and counsel for the defendants is made within five (5) days of such
      subsequent arraignment and is approved by the Court. The application to extend the date
      upon which trial will commence must include the precise reason for the requested extension
      and should contain a place for the Court to enter the new trial date in accordance with the
      extension requested in the application.

      The Court will in all cases attempt to schedule trial dates so as to permit defense counsel
      adequate preparation time in light of all the circumstances in accordance with Title 18
      U.S.C. §3161(c)(2).
     B)    Trial of the above entitled action is hereby set for November 14, 2022, at 9:30
     AM, in Albany, New York, before the Honorable MAE A. D'AGOSTINO.

THE COURT WILL SCHEDULE A FINAL PRETRIAL CONFERENCE THAT WILL BE
HELD IN ADVANCE OF THE TRIAL DATE.

     Defendant(s) and counsel must appear on the trial date READY to proceed.

VII. DEFENDANTS IN CRIMINAL CASES SHALL APPEAR WHENEVER SUCH
APPEARANCE IS DIRECTED BY THE COURT. FAILURE TO APPEAR AS
DIRECTED MAY RESULT IN REVOCATION OF BAIL.

VIII. SUBMISSION REQUIRED:

     Within seven (7) days before the FINAL PRETRIAL CONFERENCE DATE, counsel for
     each party shall:

     (a)    EXCHANGE and file with the Court VOIR DIRE requests*;

     (b)   EXCHANGE and file with the Court the Court Ordered Questionnaire*(see
     Attachment (1));

     (c)     EXCHANGE and file with the Court REQUESTS TO CHARGE which the
     parties intend at that time to ask the Court to consider without prejudice to the party's right
     to submit additional requests to charge, the need for which was not apparent prior to trial,
     at the conclusion of the taking of evidence.* The parties are directed to email a copy of the
     Requests to Charge in either Word or WordPerfect format to chambers.

     (d)     EXCHANGE and file with the Court a VERDICT FORM which the parties
     intend at that time to ask the Court to consider;

     (e)     EXCHANGE and file with the Court a MEMORANDUM OF LAW, not to
     exceed twenty-five (25) pages in length, concerning issues of substantive and any
     evidentiary law which either party anticipates will be raised at the trial of the general
     issues;*

     (f)     Make every effort to enter into STIPULATION OF FACT including stipulations
     as to the admissibility of evidence, limiting the matters which are required to be tried;

     (g)     EXCHANGE and file with the Court a proposed EXHIBIT LIST (Govt. to label
     exhibits numerically, i.e.: Govt. 1, 2, 3, etc.; Deft. to label exhibits numerically, i.e.: D-1,
     D-2, etc.; in multiple defendant cases, the exhibits must be numbered in the same order as
     the defendant's name appears on the indictment, i.e.: D-1 Exhibit 1, D-2 Exhibit 1, etc.);

     (h)    EXCHANGE and file with the Court a proposed WITNESS LIST with a brief
     description as to the subject area of the proposed witness's testimony.

     The Court may at any time request a courtesy copy of any electronically filed document.

     *PROPOSED VOIR DIRE, REQUESTS TO CHARGE, AND MEMORANDA OF
     LAW THAT ARE NOT FILED TEN (10) DAYS PRIOR TO THE DATE FIXED
     FOR TRIAL WILL NOT BE ACCEPTED FOR FILING BY THE COURT.
      FAILURE TO COMPLY WITH THE REQUIREMENTS OF THIS PRETRIAL
      SCHEDULING ORDER MAY RESULT IN THE IMPOSITION OF SANCTIONS
      BY THE COURT.

      SO ORDERED.




DATED: September 13, 2022
                                   HON. DANIEL J. STEWART
                                   U.S. Magistrate Judge
                             COURT ORDERED VOIR DIRE
                         TO BE USED BY THE JUDGE AT TRIAL

CASE TITLE: United States of America vs. JASON SCHOFIELD

CRIMINAL ACTION NO.: 22-CR-326

DISTRICT JUDGE: MAE A. D'AGOSTINO

                                     ATTACHMENT #(1)

Each attorney is required to submit the following information on behalf of his/her client for use
by the Court during Voir Dire and must be filed with the Court seven (7) days in advance of the
scheduled final pretrial conference date.

NAMES AND ADDRESSES OF ALL DEFENDANTS ON TRIAL. DEFENSE
COUNSEL'S FIRM NAME, ADDRESS AND THE NAME OF ANY PARTNER OR
ASSOCIATE WHO MAY BE AT COUNSEL TABLE DURING THE COURSE OF THE
TRIAL




(use additional page if necessary)

U.S. ATTORNEY'S NAME AND OFFICE ADDRESS; NAMES AND BUSINESS
ADDRESS OF ANY CASE AGENT OR OTHER GOVERNMENT REPRESENTATIVE
WHO WILL SIT AT COUNSEL TABLE.




(use additional page if necessary)

SET FORTH THE DATE OF EACH ALLEGED CRIMINAL OFFENSE, THE PLACE
OF THE OFFENSE AND A BRIEF STATEMENT OF THE EVENTS CENTRAL TO
THE CHARGES OF EACH COUNT IN THE INDICTMENT.




(use additional page if necessary)

SET FORTH THE NAMES AND ADDRESSES OF ALL LAY WITNESSES TO BE
CALLED.
(use additional page if necessary)

SET FORTH THE NAMES AND ADDRESSES OF ALL EXPERT WITNESSES TO BE
CALLED GIVING A BRIEF DESCRIPTION OF THEIR AREAS OF EXPERTISE.




(use additional page if necessary)

SET FORTH A BRIEF DESCRIPTION OF EACH AND EVERY COUNT IN THE
INDICTMENT.




(use additional page if necessary)

SET FORTH A BRIEF DESCRIPTION OF EACH AND EVERY AFFIRMATIVE
DEFENSE ASSERTED.




(use additional page if necessary)




PLEASE TAKE NOTICE that any delay in jury selection occasioned by the failure to provide
this information will be explained to the jury as to the extent of the delay and the attorney
causing same and if the delay causes a one (1) day or more postponement of this trial,
appropriate monetary sanctions will be imposed by the Court.


Date: ____________________                        ______________________________
                                                  (Signature of Attorney)
                                                  Bar Roll #:
 UNITED STATES DISTRICT COURT         UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK        NORTHERN DISTRICT OF NEW YORK

CASE NO. 22-CR-326                   CASE NO. 22-CR-326

GOVERNMENT EXHIBIT NO.               GOVERNMENT EXHIBIT NO.

DATE ENTERED                         DATE ENTERED
    JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
           DEPUTY CLERK                         DEPUTY CLERK
 UNITED STATES DISTRICT COURT         UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK        NORTHERN DISTRICT OF NEW YORK

CASE NO. 22-CR-326                   CASE NO. 22-CR-326

GOVERNMENT EXHIBIT NO.               GOVERNMENT EXHIBIT NO.

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BY: ______________________________   BY: ______________________________
           DEPUTY CLERK                         DEPUTY CLERK
 UNITED STATES DISTRICT COURT         UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK        NORTHERN DISTRICT OF NEW YORK

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    JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
           DEPUTY CLERK                         DEPUTY CLERK
 UNITED STATES DISTRICT COURT         UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK        NORTHERN DISTRICT OF NEW YORK

CASE NO. 22-CR-326                   CASE NO. 22-CR-326

GOVERNMENT EXHIBIT NO.               GOVERNMENT EXHIBIT NO.

DATE ENTERED                         DATE ENTERED
    JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
           DEPUTY CLERK                         DEPUTY CLERK
                                                                                                         Page 1 of ____
                                                     United States District Court
                                                    Northern District Of New York
Case No: 22-CR-326
Date: ____________________
Presiding Judge: MAE A. D'AGOSTINO

                          □ Government                     □ Defendant              □ Court

                            Marked for
      Exhibit No.                           Admitted Into Evidence        Remarks        Witness   Exhibit Description
                           Identification
Case No. 22-CR-326
                                                                                                  Page _____ of _____


                                Marked for
       Exhibit No.                                 Admitted Into Evidence   Remarks   Witness   Exhibit Description
                               Identification




Exhibits Returned to Counsel (Date): ____________________

Signature: ______________________________
